This is an action, ejectment in form, and the appeal is from the judgment and an order refusing to grant the motion of the defendant to set aside the default entered against him for failure to answer the complaint within the time allowed by the court upon overruling the demurrer to said complaint and to vacate the judgment entered upon said default.
The facts and the law pertinent thereto are, confessedly, similar to those in the case of the plaintiff herein against C. L. Cole — No. 651, ante, p. 497, [105 P. 758] — an opinion in which has this day been filed.
It therefore follows that, upon the authority of said case No. 651, the judgment and the order appealed from herein must be affirmed, and such is the order.
Chipman, P. J., and Burnett, J., concurred. *Page 505 